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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :              Case No. 21-cr-382-PLF
                                               :
CHRISTOPHER WARNAGIRIS                         :
                                               :
                       Defendant.              :


      UNITED STATES’ REPLY IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

       The United States of America hereby respectfully submits its reply in support of its motion

for the entry of a protective order governing the production of discovery by the parties in the above-

captioned case.

       1.      To begin, Defendant does not substantively dispute any of the facts supporting the

use of a protective order in this matter. Defendant does not dispute that the investigation and

prosecution of those implicated in the Capitol Attack will likely be one of the largest in American

history, both in terms of the number of defendants prosecuted and the nature and volume of the

evidence. Defendant does not dispute the scope of the charges that are under investigation or the

voluminous amounts of information and evidence relating to both charged and uncharged

individuals which may be discoverable pursuant to Federal Rules of Criminal Procedure 16 and

26.2, Local Criminal Rule 5.1(a), the provisions of Brady v. Maryland, 373 U.S. 83, 87 (1963),

Giglio v. United States, 405 U.S. 150, 153-54 (1972), and the Jencks Act, 18 U.S.C. § 3500. Nor

does Defendant dispute the possibility that some of these evidentiary materials may contain

sensitive information. (Examples of the types of information that the Government may designate

Sensitive or Highly Sensitive are identified in paragraph one of the proposed order.) Finally,
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Defendant does not seriously claim that any aspect of the proposed order would be particularly

onerous or unworkable.

       2.      For these reasons and those stated in its motion, the Government has demonstrated

the “good cause” required for the Court to issue a protective order governing the production of

discovery in this matter. See United States v. O'Keefe, No. 06-CR-0249, 2007 WL 1239204, at *2

(D.D.C. Apr. 27, 2007) (describing the court’s discretion as “vast”); United States v. Cordova, 806

F.3d 1085, 1090 (D.C. Cir.) (2015) (“[A] ‘trial court can and should, where appropriate, place a

defendant and his counsel under enforceable orders against unwarranted disclosure of the materials

which they may be entitled to inspect.’” (quoting Alderman v. United States, 394 U.S. 165, 185

(1969)).

       3.       Many of Defendant’s objections mischaracterize the proposed order, both as to the

type and quantity of material it seeks to protect. For instance, Defendant alleges that the

“government is seeking to protect most discovery materials in this case.” ECF No. 17 at 2

(emphasis added). This is simply untrue. At this time, Defendant has received a significant portion

of the Government’s discovery, including agent reports, the applicable search warrant, and

publicly available video, as it relates to Defendant Warnagiris. Additional evidence, including

grand jury materials and analysis of Defendant’s electronic devices, will be forthcoming with no

sensitivity designation. In fact, the only evidence in this case that the Government currently wishes

to designate under the protective order is uncut and significantly longer unreleased video from the

U.S. Capitol’s closed-circuit video (“CCTV”) system. While paragraph one of the proposed order

does include an illustrative list of items that could be subject to a sensitivity designation, it does

not designate any particular category of items as Sensitive or Highly Sensitive. The same


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paragraph makes clear that the Government will “make every effort to provide discovery in a

manner that will allow for most discovery to be produced without such designations.”

         4.        Further, Paragraph 8 requires the Government to make “a good faith effort to

resolve any dispute about a sensitivity designation before requesting the Court’s intervention,” and

agree to redaction whenever redaction will resolve the basis for which the designation was applied.

Paragraph 9 of the proposed order also makes clear that Defendant retains the right to seek

modification of the proposed order and to challenge any particular designation before this Court.

It also states explicitly provides that the burden of justifying any designation remains at all times

with the Government. 1

         5.       The Government has established the requisite good cause for the proposed

protective order. The proposed order is designed to ensure Defendant has liberal access to

discovery while protecting sensitive materials from unwarranted disclosure. The reasonableness

of the proposed protective order is also demonstrated by the fact that, with or without minor

modifications, the proposed protective order has already been adopted without opposition in

Capitol Attack cases by multiple judges including, Judges Bates (see U.S. v. Klein, Case No. 21-

cr-236), Berman Jackson (see U.S. v. Black, Case no. Case No. 21-cr-127), Boasberg (see U.S. v.

Jancart, Case No. 21-cr-148), Brown Jackson (see U.S. v. Fitzimons, Case No. 21-cr-181), Cooper

(see U.S. v. Egtvedt, Case No. 21-cr-177), Friedrich (see U.S. v. Martin, Case No. 21-cr-201),

Friedman (see U.S. v. Bromley, Case No. 21-cr-250), Hogan (see U.S. v. Hatley, Case No. 21-cr-



1
 Defendant makes much of a separate case (U.S. v. Anderson, Case No. 21-cr-215) in which defense counsel
apparently represents another Capitol Attack defendant and wherein defense counsel claims that the Government
decided “not to abide by the terms of the PO that it had drafted,” and “shifted the burden of demonstrating good
cause on to the defendant.” ECF No. 17 at 5. The terms of the proposed protective order in this case are succinct and
clear, that is, “the burden of demonstrating the need for a protective order remains with the government at all times.”
Proposed order at Paragraph 9.
                                                          3
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98), Kollar-Kotelly (see U.S. v. Caldwell, Case No. 21-cr-181), Lamberth (see U.S. v. Munchel,

Case No. 21-cr-118), McFadden (see U.S. v. Fellows, Case No. 21-cr-83), Mehta (see U.S. v. Wood

(Case No. 21-cr-223), and Nichols (see U.S. v. Miller, Case No. 21-cr-119), as well as by

Magistrate Judges Faruqui (see U.S. v. Wilson, Case No. 21-mj-229), Harvey (see U.S. v. Adams,

Case No. 21-mj-291), and Meriweather (see U.S. v. Hernandez, Case No. 21-mj-73). 2 Further,

Judge Bates has entered the proposed protective order over a defendant’s objection to signing

Attachment A, a separate document which confirms a defendant’s understanding of the order (see

U.S. v. Languerand, Case No. 21 cr-353).

        6.       Defendant includes a footnote at page two of his brief describing a minute order

entered in United States v. Samuel Lazar, Case No. 21-CR-525 ABJ, by Judge Amy Berman

Jackson wherein the court denied the Government’s unopposed motion for the same protective

order at issue here because it did not appear to comply with Local Rule of Criminal Procedure

49(f)(6)(i) addressing procedures related to sealed documents. What Defendant conveniently

omits from his footnote, however, is that Judge Berman Jackson specifically noted that “the Court

is prepared otherwise to approve the proposed Protective Order,” once the order complied

procedurally with the local rule. The proposed protective order in this case is in compliance with

Rule 49(f)(6)(i).

        7.        Defendant suggests that the proposed order “creates a disparity between the parties

in their ability to utilize video evidence,” (ECF No. 17 at 2, 9-10). Paragraph 4(e) of the proposed


2
 Defendant includes a footnote at page two of his brief describing a minute order entered in United States v. Samuel
Lazar, Case No. 21-CR-525 ABJ, by Judge Amy Berman Jackson wherein the court denied the Government’s
unopposed motion for the same protective order at issue here because it did not appear to comply with Local Rule of
Criminal Procedure 49(f)(6)(i) which addresses procedures related to sealed documents. What Defendant
conveniently omits from his footnote, however, is that Judge Berman Jackson specifically noted that “the Court is
prepared otherwise to approve the proposed Protective Order,” once the order complied procedurally with the local
rule.
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order makes clear, however, that none of the restrictions in the order apply to the use of materials

in judicial proceedings, and that any such use will be addressed by the parties and the Court prior

to any such proceedings. Further, the Government has no objection to Defendant using still shots

from footage in pleadings, just as the Government has done in its own filings. Though, for the

reasons stated in Attachment A to the Government’s original motion, (ECF No. 16), the proposed

order does indicate that video footage may be subject to protection. 3

         8.       Defendant claims that the protective order renders him “Oliver Twist” requiring

him “to beg the government to reveal evidence favorable to his case.” This analogy is a poor fit.

The protective order does not in any way limit the discovery that the Government must provide to

this Defendant and every other defendant it prosecutes. Indeed, the Government has already

provided much of the discovery that is unique to this Defendant and will continue to comply with

every obligation that it has under the law. The protective order simply seeks to protect from public

dissemination a small subset of information based on serious and legitimate security concerns.

         9.        The fact that Defendant is charged individually and not with co-conspirators does

not alleviate the need for the proposed protective order. Ultimately, in order to comply with its

discovery and disclosure obligations, the Government intends to make voluminous materials

available in all pending cases arising out of the events of January 6, 2021, including this one.



3
  For the reasons described in Attachment A to the Government’s motion, the Declaration of Thomas A. DiBiase,
General Counsel to the United States Capitol Police (“USCP”), the Government does intend to mark all surveillance
video footage from the USCP surveillance cameras as Highly Sensitive. If such footage is produced to Defendant, and
Defendant believes that a Highly Sensitive designation is inappropriate, Defendant will have the opportunity to contest
that designation, as described above. At that time, Defendant will have the opportunity to explain to this Court how
limiting the disclosure of such materials to the Defendant, his defense counsel, as well as any attorneys, investigators,
paralegals, support staff, and expert witnesses on his defense team is problematic and why public disclosure is essential
to Defendant’s defense to the charges. Similarly, if Defendant wishes to use such footage at a hearing in Court, he
will be permitted to do so under the proposed order. The order simply requires Defendant to seek the Government’s
agreement or to give the Government an opportunity to propose conditions before the footage is disclosed in open
court – a decision that ultimately rests with the Court.
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These materials will include information such as tips, witness statements, and the results of

searches performed upon other individuals’ devices and accounts. Given the volume of material

that is likely to be made accessible to Defendant here, the proposed order ensures that this

information, where appropriate, will be adequately protected.

       10.     Defendant also makes the argument that, because some small portions of CCTV

video are publicly available, somehow the Government has waived its ability to designate as

Highly Sensitive what is a far greater percentage of CCTV video that is not public. ECF 17 at 6-

8. First and foremost, Paragraph 11 of the proposed protective order makes clear that the order

does not apply to, inter alia, materials that are or later become part of the public court record, or

that are derived directly from or pertain solely to the Defendant. Thus, by the plain terms of the

order, any video like the example Defendant found on Twitter and that is in the public realm, ECF

No. 17 at 8, is not subject to the protective order. Nevertheless, Defendant goes on to claim that

because short portions of video have become public, somehow all video from a particular camera

should be released. As more fully described, infra, 43 seconds of publicly available video does

not negate the need for a protective order for the remaining multiple of hours of unreleased video

from the same camera.

       11.     In sum, Defendant’s real quarrel is not with the proposed protective order, itself,

but with the designation of the CCTV as Highly Sensitive under the protective order’s terms. This

is an issue contemplated by the proposed order and includes recourse for the Defendant should he

disagree with the sensitivity designation as described, supra. Nevertheless, the Government is

prepared to briefly address this issue here.

       12.     Contrary to Defendant’s claims, the uncut video footage from CCTV is

dramatically different from still frame photographs and should be subject to the proposed
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protective order. In the Government’s Motion for Protective Order, it presented its argument based

on its reliance on the declaration of Thomas DiBiase. ECF No. 16-1, pp. 6-7 ¶¶ 15-16 (Attachment

A - Declaration of Thomas DiBiase). That portion of the DiBiase Declaration relies on the mosaic

theory of intelligence gathering. In essence, the release of a significant volume of video footage

from the U.S. Capitol CCTV system, in this matter and others, undermines the security of the U.S.

Capitol and provides a roadmap for those who may seek to repeat the events of January 6th.

         13.      The videos at issue in this particular case show at least one entrance into the Capitol

building from various angles, as well as other areas of the Capitol where Defendant moved about.

This footage, when combined with other footage from nearby cameras, could be used to track

individual rioters moving through the building thereby creating a visual pathway which other bad

actors could use in planning their breach point and pathway for future attacks. 4 The large number

of cases (now more than 500 defendants and likely more to come) increases the chance for bad-

actors to use video clips like these even where the individual video clips on their own may not be

problematic.

         14.      The volume of USCP video at issue in this case and the different perspectives and

capabilities of the cameras at issue raise additional security issues. Based on representations made

by the USCP, the Government has learned that different cameras have different technological




4
  The ongoing threat to the U.S. Capitol is not hypothetical. The USCP and their law enforcement partners are actively
preparing for a large-scale rally, “Justice for J6,” scheduled for September 18th at Union Square. See
https://www.washingtonpost.com/dc-md-va/2021/09/02/justice-j6-rally-capitol-riot/ (last accessed September 13,
2021). The group organizing the rally is promoting the idea that the hundreds of people charged in the January 6
insurrection are political prisoners. See id.


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capabilities. For example, some cameras have the ability to pan, tilt and zoom (PTZ), 5 while other

cameras do not have that capability.

       15.      The USCP videos at issue here come from a variety of different cameras and

include at least 15 to 20 minutes of footage (though there could be more), far more than the

Government typically offers in public court hearings. By studying extended footage from multiple

different cameras, would-be bad actors would learn valuable information about the capabilities of

the cameras, and by extension, the capabilities of the U.S. Capitol’s CCTV system. By viewing

all of the footage at issue here, combined with footage that has been made public in other cases,

potential bad actors would gain valuable knowledge about the capabilities of the U.S. Capitol’s

CCTV system, compromising the security of the building and those who work there.

       16.      Finally, the cameras themselves also reveal how law enforcement responded to the

attack, revealing police tactics and capabilities that could enable the next set of rioters to change

their pattern of attack and their weaponry to combat such tactics and overcome law enforcement

capabilities. This is particularly true when the smaller confines of the Capitol require officers to

use different combat and crowd control techniques than are used exterior to the building.

       17.     It is worth noting that the only reason the CCTV footage that Defendant seeks has

been released to the public at all is because of a mass assault on the U.S. Capitol Building by a

group that included the Defendant himself. The CCTV footage at issue would otherwise never be

made public. That attack also demonstrates in stark terms the obvious reasons why the USCP do

not wish anyone—much less the actual rioters who breached the Capitol just nine months ago—

to have the ability to create a virtual map of the facility to allow future breaches. Defendant is


5
 See https://en.wikipedia.org/wiki/Pan%E2%80%93tilt%E2%80%93zoom_camera (last accessed September 13,
2021).
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entitled to the ability to mount a defense. He is not entitled, however, to leverage his own criminal

breach of the U.S. Capitol building into the ability to freely disseminate some of the most sensitive

security information about that same facility.



       WHEREFORE, for all of the foregoing reasons, the Government has demonstrated good

cause for the Court to issue a protective order governing the production of discovery in this

matter and this Court should enter the order attached to its Motion for Protective Order, ECF No.

16.



                                                 Respectfully submitted,

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